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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                      ROME DIVISION

BARBARA TEASLEY and PATSY
McFALLS,

           Plaintiffs,

V.

TOYOTA MOTOR CORPORATION;
TOYOTA MOTOR NORTH
AMERICA, INC.; TOYOTA MOTOR
ENGINEERING &
MANUFACTURING NORTH
AMERICA, INC.; TOYOTA MOTOR
SALES, USA, INC.; ZF ACTIVE
                                     CASE NO.: 4:22-cv-00049-JPB
SAFETY AND ELECTRONICS US,
LLC; ZF PASSIVE SAFETY
SYSTEMS USA, INC.; TRW
AUTOMOTIVE, INC.; ZF TRW
AUTOMOTIVE HOLDINGS, CORP.;
ZF NORTH AMERICA, INC.; ZF
HOLDINGS, B.V.; ZF
FRIEDRICHSHAFEN, A.G.;
STMICROELECTRONICS N.V.;
STMICROELECTRONICS
INTERNATIONAL, N.V.; and
STMICROELECTRONICS, INC.,

           Defendants.


          DEFENDANT STMICROELECTRONICS, INC.’S
         MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
                  AND BRIEF IN SUPPORT
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      Defendant STMicroelectronics, Inc. (“ST Inc.”) moves the Court to dismiss

with prejudice Plaintiffs’ claims under Federal Rules of Civil Procedure 12(b)(2)

and 12(b)(6) for lack of personal jurisdiction and for failure to state a claim.

                               I.   INTRODUCTION

      Plaintiffs filed this product defect case against fifteen Defendants including

various Toyota entities, several ZF entities, ST Inc. and two foreign ST entities that

have not been served. Plaintiffs’ claims concern allegedly defective airbag control

units (“ACUs”) allegedly containing the DS84 ASIC that are supposedly vulnerable

to electrical overstress (“EOS”). Plaintiffs allege that the ST entities supplied the

DS84 ASIC to ZF, which integrated the part into its ACU, and then sold the ACU to

the Toyota Defendants. The Toyota Defendants then in turn sold the vehicle in

Georgia through an unidentified dealership. Compl. ¶ 39–42.

      The claims against ST Inc. are each subject to dismissal. First, this case cannot

proceed against ST Inc. because the Court lacks personal jurisdiction over it. As a

nonresident business with no Georgia presence, ST Inc. is not subject to Georgia

courts’ general jurisdiction. Nor do Georgia’s long-arm statute or Constitutional Due

Process protections permit the Court to exercise specific personal jurisdiction over

the claims brought against ST Inc. At most, Plaintiffs have alleged that ST Inc. was

a subcomponent supplier that sold a single part to another component manufacturer


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outside Georgia. ST Inc. had no other role in designing, manufacturing, installing,

assembling, distributing, advertising, or selling the ACU or the Toyota vehicle at

issue. On similarly sparse allegations, the Central District of California dismissed

claims against ST Inc. for want of jurisdiction. This Court should do the same.

      Beyond jurisdiction, Plaintiffs’ product liability claims also fail to state a

claim. First, Plaintiffs’ shotgun pleading blurs the lines between all Defendants, and

either omits factual allegations required to state a claim, or pleads facts that, even if

taken as true, negate their causes of action. Second, Plaintiffs’ product liability

claims fail because they have not pleaded that the DS84 ASIC is defective, and their

claims are cut off by other parties in the supply chain under the sophisticated

intermediary doctrine. Finally, Plaintiffs’ warranty claims fail as they lack privity

with ST Inc.

               II.   STATEMENT OF RELEVANT ALLEGATIONS

      The Complaint’s threadbare jurisdictional allegations confirm that ST Inc. is

not a Georgia resident and identify no specific contact with the State. Compl., ¶¶ 38–

42. Plaintiffs articulate only one undifferentiated personal jurisdiction theory against

all Defendants: that an injury occurred in Georgia and that “Defendants have placed

their product in the stream of commerce in this district and have received substantial

revenue and profits” therefrom. Id. ¶ 47.


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      Plaintiffs claim a 2015 Toyota Avalon was purchased in July 2015 from a

Toyota dealership in Whitfield County. Id. ¶ 49. Plaintiffs claim an accident

occurred on February 24, 2020, also in Whitfield County, during which the airbags

and seatbelt pretensioners should have activated. Id. ¶¶ 51, 53. Plaintiffs allege that

the airbags did not deploy, and the seatbelts did not tighten due to the failure of the

ZF ACU, which allegedly contained a “DS84 ASIC,” which Plaintiffs claim that an

ST entity—though Plaintiffs do not specify which—allegedly manufactured. Id.

¶¶ 8, 42, 53, 63. Plaintiffs do not allege that the DS84 ASIC or the ACU were

designed, manufactured, installed, assembled, distributed, advertised, or sold in

Georgia. Plaintiffs allege only a vehicle purchase in Georgia.

      Based on these allegations, Plaintiffs assert a products liability action against

ST Inc. and two foreign ST entities—which have not yet been served and have not

appeared—for design defect, manufacturing defect, strict products liability, failure

to warn, breach of implied warranties, and strict liability for failure to warn. None

of these claims should survive.

          III.   ARGUMENT AND CITATION OF AUTHORITIES

A. THIS COURT LACKS PERSONAL JURISDICTION OVER ST INC.

      Plaintiffs do not allege facts supporting this Court’s personal jurisdiction over

ST Inc. Nor could they, given the attached sworn evidence. In this Circuit, a three-



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step analysis governs Rule 12(b)(2) motions. First, the plaintiff “bears the initial

burden of alleging” facts establishing “a prima facie case of jurisdiction.” Diamond

Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1257 (11th Cir.

2010). 1 If the plaintiff fails to carry the initial burden, “the district court doesn’t go

to the second and third steps,” and the motion to dismiss should be granted. Diulus

v. Amer. Express Travel Related Servs. Co., 823 F. App’x 843, 848 (11th Cir. 2020).

If, however, “the defendant challenges jurisdiction” with evidence, then “the burden

traditionally shifts back to the plaintiff to produce evidence supporting jurisdiction.”

Diamond Crystal, 593 F.3d at 1257. Finally, if the evidence conflicts, the Court must

“construe all reasonable inferences in” plaintiff’s favor. Id.

       Plaintiffs must show that the court can exercise either general (“all purpose”)

or specific (“case-linked”) jurisdiction. Bristol-Myers Squibb Co. v. Superior Ct. of

California, San Francisco Cnty., 137 S. Ct. 1773, 1779–80 (2017). Plaintiffs cannot

meet their burden showing either.

    1. ST Inc. is not subject to general jurisdiction in this Court.

       As the Supreme Court has repeatedly held, a corporation is subject to general

jurisdiction only where it is “at home,” meaning, “where it is incorporated or has its


1
  In citations throughout this brief, emphasis is added, and internal citations,
quotations, and alterations are omitted, unless otherwise noted.

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principal place of business.” Ford Motor Co. v. Montana Eighth Jud. Dist., 141 S.

Ct. 1017, 1024 (2021); Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

      ST Inc. is not “at home” in Georgia. Plaintiffs concede ST Inc. “is a Delaware

Corporation,” and agree that ST Inc.’s principal place of business is outside of

Georgia. Comp. ¶¶ 42, 46; see also Hutter Decl., ¶ 3, attached as Exh. A. Indeed, ST

Inc.’s principal place of business is in Texas. Hutter Decl., ¶ 3. Because ST Inc. is

not at home in Georgia, it is not subject to general personal jurisdiction in Georgia.

   2. ST Inc. is not subject to the Georgia long-arm statute.

      An out-of-state defendant must do “certain acts within” Georgia before it is

subject to jurisdiction here. Innovative Clinical & Consulting Servs., LLC v. First

Nat. Bank of Ames, 279 Ga. 672, 673 (2005). Under Georgia law, the Court must

first determine whether the exercise of jurisdiction is appropriate under Georgia’s

long-arm statute, O.C.G.A. § 9-10-91; Diamond Crystal, 593 F.3d at 1257. If so, the

Court must then assess whether exercising personal jurisdiction over the defendant

would comport with due process. Id. This Court lacks specific jurisdiction over ST

Inc. as neither the statutory nor the constitutional requirements have been met.

      Relevant here, Georgia’s long-arm statute provides that a court may exercise

personal jurisdiction over a nonresident that (1) “Transacts any business within this

state,” (2) “Commits a tortious act or omission within this state,” or (3) “Commits a


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tortious injury in this state caused by an act or omission outside this state if the tort-

feasor regularly does or solicits business, or engages in any other persistent course

of conduct, or derives substantial revenue . . . in this state.” O.C.G.A. § 9-10-91.

Plaintiffs satisfy none of these requirements as to ST Inc.

      a. Plaintiffs’ undifferentiated allegations do not meet their burden.

      The Complaint lacks the specificity necessary to show that ST Inc. has any

contact with Georgia. Plaintiffs allege the “STMicro” defendants are “a multi-

national group of companies,” with different ownership structures and locations,

who supplied a single part to the ZF defendants, who then integrated it into its ACU,

and then sold the ACU to the Toyota defendants, who, through an unidentified

dealership, sold the vehicle in Georgia. Comp. ¶ 8, 37–42, 49. Plaintiffs’ allegations

as to the “STMicro” defendants’ conduct (or to “the defendants’” conduct more

broadly) do not establish sufficient Georgia contacts.

      As this Court has held, Plaintiffs must state “specific jurisdictional allegations

with respect to each company” to satisfy their prima facie burden. Pounds v. Kenda

Rubber Indus. Co. Ltd., 1:18-CV-05092-JPB, 2020 WL 11192767, at *4 (N.D. Ga.

Feb. 25, 2020). “It is improper to lump [defendants] together without any attempt to

state specific jurisdictional allegations with respect to each company.” Id. “Each

defendant is entitled to an individual evaluation of his claim that the Court lacks


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jurisdiction over his person.” Brazil v. Janssen Rsch. & Dev. LLC, 249 F. Supp. 3d

1321, 1332 (N.D. Ga. 2016). Plaintiffs here allege no facts showing ST Inc.’s

contacts—as opposed to those of any other defendant—with Georgia. Thus, this

Court should dismiss for a lack of personal jurisdiction.

      b. Because they do not show the purposeful consummation of business
         here, Plaintiffs’ stream of commerce allegations are insufficient.

      Even if this Court were to consider Plaintiffs’ undifferentiated allegations, this

Court’s decisions confirm they are insufficient. In Brantley v. Tiffin Motor Homes

Inc., for example, this Court concluded that allegations that the defendant conducted

business with “the public at large,” placed its items “into the stream of commerce,”

and manufactured a defective vehicle were insufficient to satisfy any of the prongs

of Georgia’s long-arm statute. 1:21-CV-02228-JPB, 2022 WL 444474, at *2 (N.D.

Ga. Feb. 14, 2022). Plaintiffs’ allegations are even weaker than the Brantley

allegations this Court dismissed. Plaintiffs do not, for example, allege that ST Inc.

manufactured the vehicle or the defective ACU, but contend only that ST Inc.

supplied a component part to manufacturers somewhere outside Georgia.

      That is insufficient to allege that ST Inc. “transacts” business in Georgia.

“[T]ransacting business” demands that the “nonresident [have] purposefully

consummated some transaction” here and that the plaintiff’s claims arise from those

contacts. Object Techs., Inc. v. Marlabs, Inc., 246 Ga. App. 202, 202 (2000).

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Plaintiffs cannot meet that burden. The Complaint lacks any allegation ST Inc. had

Georgia contacts, much less those giving “rise to [Plaintiffs’] claims.” Kason Indus.,

Inc. v. Dent Design Hardware, Ltd., 952 F. Supp. 2d 1334, 1334 (N.D. Ga. 2013).

       Kason involved claims that defendant Dent manufactured and sold hinges

infringing on Kason’s patent. Id. Like here, Kason alleged that Dent sold the hinges

to other manufacturers outside Georgia, that those manufacturers incorporated the

hinges into other products distributed in Georgia, and that Dent had an “established

distribution network” and “place[d] its offending products into the stream of

commerce” expending Georgia consumers to purchase them. Id.

       Judge Batten found those allegations insufficient because Kason did not allege

that Dent directly sold its accused products to customers in Georgia and did not

allege (nor submit evidence) that Dent sold the hinges to any manufacturers in

Georgia. Id. The stream of commerce allegations also failed to plead that Kason

purposefully consummated any transaction in Georgia. Id. Similarly, allegations that

an infringing component had been “incorporated into products” that were later sold

in Georgia were not enough to demonstrate that the defendant transacted business in

the state. Id. at 1345.

       Likewise here, Plaintiffs’ allegations at best support an argument that ST Inc.

performed acts or omissions outside the state that caused an injury in Georgia. But


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they lack the facts needed to show that ST Inc. engaged in the purposeful activities

required to support jurisdiction under subsection (3) of Georgia’s long-arm statute.

See id.; Pounds, 2020 WL 11192767, at *4; Brantley, 2022 WL 444474, at *2.

      c. Plaintiffs allege no tortious conduct in Georgia.

      Nor do Plaintiffs’ allegations support a prima facie case of jurisdiction under

subsection (2) of the long-arm statute. “[T]he clear language of subsection (2)

requires that the nonresident defendant commit a tortious act in the state of Georgia.”

Pounds, 2020 WL 11192767, at *3 (emphasis in original). “[S]hipping a defective

product to Georgia is not a sufficient basis for personal jurisdiction under subsection

(2).” Thomas v. Strange Eng’g, Inc., CV 111-074-JRH, 2012 WL 993244, at *4

(S.D. Ga. Mar. 22, 2012). Thus, allegations that ST Inc. supplied a subcomponent to

a manufacturer outside of Georgia—even if eventually incorporated into a product

that made its way to Georgia—are not enough. And while Plaintiffs allege that

“Defendants designed, selected, inspected, tested, assembled, equipped, marketed,

distributed, supplied, and/or sold” the vehicle “and its component parts,” Plaintiffs

do not tie that supposed involvement to Georgia. Compl. ¶ 91.

      Plaintiffs’ allegations are akin to those in Pounds, where this Court dismissed

claims against bicycle tire and tube manufacturers and distributers that never sold or

distributed parts in Georgia, had “no distributors or customers here;” maintained no


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offices in Georgia, “never executed a contract or provided any services here;” “never

owned, rented or leased any real or personal property” and owned no “assets in the

state.” 2020 WL 11192767, at *4.

   3. Exercising jurisdiction would violate ST Inc.’s due process rights.

      Even if ST Inc. were subject to Georgia’s long-arm statute (and it is not), that

statute only extends to the reaches of the U.S. Constitution’s limits. Diamond Crystal

Brands, 593 F.3d at 1267. The Constitution still acts as a limit on the exercise of

personal jurisdiction and prohibits the exercise of jurisdiction over a non-resident

defendant unless that defendant has established “certain minimum contacts” with

Georgia so that the suit’s maintenance “does not offend traditional notions of fair

play and substantial justice.” Id. Plaintiffs here have not met their burden to show

that the Due Process Clause permits the exercise of jurisdiction.

      In fact, in another airbag case involving many of the same parties (including

ST Inc.), and upon which Plaintiffs’ Complaint here appears based, the Central

District of California ruled just a few months ago that similar jurisdictional

allegations were inadequate. In re ZF-TRW Airbag Control Units Prods. Liab. Litig.,

No. 2:19-ml-02905 (JAK) (PLA), Dkt. 396 (C. D. Cal. Feb. 9, 2022), at 50–54.

Specifically, the Court ruled that allegations ST Inc. “manufactured and placed into

the stream of commerce a product that foreseeably could end up” in those states were


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wholly insufficient to establish that ST Inc. committed acts “purposefully directed

toward a forum state.” Id. at 51. The California Court thus ruled that Plaintiffs had

not established a relationship between their claims and ST Inc.’s conduct in either

Florida or California. Id. It only permitted claims brought in Michigan to proceed

because (as Plaintiffs also note here) ST Inc. has a presence in Michigan. Compl.

¶ 42. For the same reasons, and to avoid inconsistent rulings, these claims should

similarly be dismissed, as Plaintiffs have not established any presence in Georgia

related to their claims.

      Again, ST Inc. does not have sufficient minimum contacts with Georgia.

Plaintiffs’ only allegations are that after ST Inc. manufactured and supplied the

DS84 ASIC to ZF, an ACU containing the DS84 ASIC ended up in a vehicle that

was in turn sold and used in Georgia. But Plaintiffs do not allege that ST Inc. had

any expectation that this part would end up in Georgia. Nor do Plaintiffs allege that

ST Inc. was involved in determining how or where DS84 ASICs would be

incorporated into ACUs, how or where those ACUs would be installed into vehicles,

where those vehicles would be imported and distributed to dealers, or where dealers

would sell the vehicles to customers. In Helicopteros Nacionales de Colombia, S.A.

v. Hall, the Supreme Court held that such “unilateral activity of another party or a

third person is not an appropriate consideration when determining whether a


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defendant has sufficient contacts with a forum State to justify an assertion of

jurisdiction.” 466 U.S. 408, 417 (1984). Thus, the ZF and Toyota Defendants’

unilateral activities in incorporating the DS84 ASIC subpart into other components,

which were then incorporated into vehicles, is insufficient to justify jurisdiction over

ST Inc. here.

      Nor do Plaintiffs’ stream of commerce allegations establish that ST Inc. has

sufficient minimum contacts with Georgia. The United States Supreme Court has

long rejected the argument that merely placing products into a “stream of commerce”

establishes sufficient forum-related contacts to warrant the exercise of personal

jurisdiction. Asahi Metal Indus. Co. v. Superior Court of California, Solano Cnty.,

480 U.S. 102, 112 (1987). Something more is required. That something more is

missing here.

      Recent Supreme Court decisions also confirm that a “plaintiff’s claims ‘must

arise out of or relate to the defendant’s contacts’ with the forum.” Ford, 141 S. Ct.

at 1025 (quoting Bristol-Myers, 137 S. Ct. at 1786). Mere awareness that

components would eventually be incorporated into products sold in a forum does not

constitute purposeful availment. Asahi, 480 U.S. at 112; Bristol-Myers, 137 S. Ct. at

1777. As a result, Plaintiffs must show more than that a product ST Inc. sold could

end up in Georgia. They must plead and prove that ST Inc. deliberately “reached out


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beyond its home” to avail itself of jurisdiction here. Ford, 141 S. Ct. at 1025. For

example, in Ford, the Supreme Court found that jurisdiction was warranted because

of Ford’s substantial advertising—“billboards, TV and radio spots, print ads, and

direct mail”—encouraging residents of the forum states to buy the same model

vehicles that were at issue in that lawsuit. Id.

      Plaintiffs allege no such activities by ST Inc. in Georgia. Nor do Plaintiffs

allege that ST Inc. had a role in bringing any vehicles, ACUs, or DS84 ASICs to

Georgia. A bare allegation that an injury occurred in Georgia because of “an act or

omission by a nonresident outside this forum does not necessarily show that the

defendant had such contact with Georgia to confer jurisdiction over him, . . . rather

than being merely involved in a connection with a forum plaintiff due to [another’s]

unilateral actions within the state.” McDonnell v. Roy E. Beatty & Assocs., Inc., 203

Ga. App. 807, 810 (1992). Under applicable law, the Complaint does not allege facts

suggesting that ST Inc. “reached out” to Georgia. See Ford, 141 S. Ct. at 1025.

      Moreover, exercising jurisdiction over ST Inc. would be unreasonable and

unfair. Courts in this Circuit consider several factors when a party attempts to hale

an out-of-state defendant into court, including the defendant’s burden “in defending

the lawsuit, the forum state’s interest in adjudicating the dispute, the plaintiff’s

interest in obtaining convenient and effective relief, the interstate judicial system’s


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interest in obtaining the most efficient resolution of controversies and the shared

interest of the states in furthering fundamental substantive social policies.” Madara

v. Hall, 916 F.2d 1510, 1517 (11th Cir. 1990). These factors weigh against

exercising jurisdiction here.

      For example, ST Inc.’s burden in defending itself in Georgia is high. The bulk

of witnesses and relevant documents, including those showing what role (or lack

thereof) ST Inc. had in selling, designing, and manufacturing the allegedly defective

component, are located outside of Georgia, given that ST Inc. has no offices in

Georgia. See Hutter Decl. ¶ 4. Moreover, Georgia’s judicial and policy interests

cannot create jurisdiction where it otherwise does not exist. Nor would interstate

interests be served by haling corporate entities into whatever forum their products

happen to end up. Due process concerns require ST Inc.’s dismissal.

   4. ST Inc. has carried its burden to refute jurisdiction.

      For the reasons described above, Plaintiffs have not met their burden to show

a prima facie case of jurisdiction. But even if they had, ST Inc. has provided sworn

evidence refuting any allegations that might support personal jurisdiction. ST Inc.

does not “transact” business in Georgia, did not commit a tortious act in Georgia,

and does not have sufficient contacts to otherwise establish jurisdiction over it in

Georgia. ST Inc. has no offices, plants, or property in Georgia. Hutter Decl, ¶¶ 4-5.


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It did not design, market, or advertise the DS84 ASIC in Georgia. Id. ¶¶ 6-7. ST Inc.

had a limited role as a subcomponent supplier that sold DS84 ASICs to ZF, but those

sales occurred entirely outside of Georgia. Id. ¶ 5. Plaintiffs have therefore failed to

allege a prima facie case of jurisdiction and this Court need not go further. Diamond

Crystal, 593 F.3d at 1257.

B.    PLAINTIFFS FAIL TO STATE A CLAIM AGAINST ST INC.

        To survive a motion to dismiss, a complaint must contain more than “labels

and conclusions” or a “formulaic recitation of the elements of a cause of action.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plaintiffs must allege more than “an

unadorned, the-defendant-unlawfully-harmed-me accusation,” and must “plead [ ]

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. The Complaint fails this standard.

     1. Plaintiffs’ Complaint is an impermissible shotgun pleading.

       “Courts in the Eleventh Circuit have little tolerance for shotgun pleadings.”

Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018). Shotgun

pleadings are those that, among other things, (1) combine multiple claims against

multiple defendants without specifying which defendant is responsible for which

act; (2) include multiple counts that each adopt the allegations of the preceding

counts; and (3) make conclusory, vague, and immaterial facts that do not connect to



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a particular cause of action. Weiland v. Palm Beach Cnty. Sheriff's Off., 792 F.3d

1313, 1323 (11th Cir. 2015). Plaintiffs’ Complaint suffers from all three problems.

      First, each count lumps all defendants together, making it impossible to

discern which defendant allegedly did what:

  Complaint ¶                 Lumped Allegation vs “Defendants”
 91, Count I    “Defendants designed, selected, inspected, tested, assembled,
                equipped, marketed, distributed, supplied and/or sold the 2015
                Toyota Avalon of Plaintiff McFALLS and its component parts.”
 95, Count II   “Defendants manufactured the vehicle of Plaintiff and its retraint
                [sic] system and the ACU airbag components.”
 101, Count III “At all times relevant herein, the Defendants took some part in
                the manufacture and sale of the subject vehicle, its airbag system,
                ACU and restraints prior to the incident of February 24, 2020.”
 113, Count IV “At all times relevant herein, the Defendants have affirmatively
                failed to exercise reasonable care to inform users of the vehicle’s
                dangerous condition created by the defective ACU and passive
                restraint system.”
 119, Count V “Defendants further breached the implied warranty of
                merchantability to Plaintiffs because the vehicle was not
                adequately contained, packaged and labeled in that the directions
                and warnings that accompany the vehicle did not warn the owner
                of the defective ACU, airbag and passive restraint system which
                could fail.”
 128, Count VI “At all times relevant herein, the Defendants had a duty to warn
                Plaintiffs of the dangers associated with the vehicle and its
                defective ACUs and passive restraint system.”


      Second, each count incorporates all preceding paragraphs. Compl., ¶¶ 90, 93,

98, 109, 114, and 120. Third, each count is merely a conclusory elemental recitation

with no factual connections.

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      The Eleventh Circuit scrutinizes pleadings that fail to distinguish among

multiple defendants although “geographic and temporal realities make plain that all

of the defendants could not have participated in every act complained of.” Magluta

v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001). As shown above, those same

concerns plague Plaintiffs’ complaint. Differentiating among the defendants here is

vital because, as explained below, Plaintiffs’ strict liability and failure to warn claims

depend on precisely which defendant was responsible for manufacturing which

product. Because the Complaint is a “quintessential shotgun pleading,” this Court

should dismiss all claims brought in it. Inform Inc. v. Google LLC, No. 1:19-CV-

05362-JPB, 2021 WL 4295151, at *5 (N.D. Ga. Sept. 20, 2021).

   2. Plaintiffs’ product liability claims are inadequately pleaded.

      a. Plaintiffs fail to state a design defect claim (Count I).

      “[A] manufacturer is not an insurer that its product is, from a design

viewpoint, incapable of producing injury.” Woods v. A.R.E. Accessories, LLC, 345

Ga. App. 887, 890 (2018). At the “heart” of Georgia’s test is the reasonableness of

a defendant’s design choices. Jones v. NordicTrack, Inc., 274 Ga. 115, 118 (2001).

The Georgia Supreme Court uses an eight-factor test in design defect cases, under

which “the risks inherent in a product design are weighed against the [product’s]

utility or benefit.” Banks v. ICI Ams., Inc., 264 Ga. 732, 734 (1994). Liability for a


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design defect attaches “only when the plaintiff proves that the seller failed to adopt

a reasonable, safer design that would have reduced the foreseeable risks of harm

presented by the product.” Woods, 345 Ga. App. at 890.

      Because Georgia law requires plaintiffs to prove that a “[defendant] failed to

adopt a reasonable alternative design to reduce the foreseeable risks of harm

presented by the [product], then logic dictates that in order to prove an essential

element of a claim so as to survive a motion to dismiss, a plaintiff must first plead

it.” Fincher v. Monroe Cnty. Bd. of Commissioners, No. 5:18-CV-00424-TES, 2019

WL 510448, at *5 (M.D. Ga. Feb. 8, 2019). In Fincher, the Middle District of

Georgia dismissed a plaintiff’s design defect claim for want of allegations about

“reasonable alternative designs” for drug-testing kits. Id. at 6. Absent additional facts

about the kits’ design and alternatives, conclusory statements that the kits could

return false positives were insufficient to allege defective design. Id. This Complaint

similarly lacks any allegations about design alternatives. Indeed, the only alternative

designs Plaintiffs identify relate to the ACU and its installation in the vehicle—not

to the part allegedly supplied by ST Inc. See Compl. ¶¶ 9, 70.

      Plaintiffs’ Complaint also contains no allegations comparing the utility of the

DS84 ASIC to its risks. In Brown v. Sirchie Acquisition Co., LLC, Judge Jones ruled

that “[s]imply stating that a product feature amounts to a defect, … is not enough to


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sustain a design defect” claim. 1:16-CV-175-SCJ, 2017 WL 4082690, at *5 (N.D.

Ga. Feb. 17, 2017), aff’d, 694 Fed. Appx. 745 (11th Cir. 2017). Instead, a complaint

must include facts enabling a court to compare a product’s benefits to its risks. Id.

Plaintiffs assert that the vehicle’s ACU was particularly vulnerable to EOS.

According to Plaintiffs, EOS “is a well-known phenomenon in the auto industry.”

Comp. ¶ 10. But the mere fact that something is “dangerous” does not make it

“defective,” see Brown, 2017 WL 4082690, at *4, and the Court cannot fill in the

factual gaps to assume that the DS84 ASIC’s risks outweighed its utility. Id.;

Fincher, 2019 WL 510448, at *5.

      Moreover, Plaintiffs’ allegations focus on the design errors with the ACU—

not its subcomponent DS84 ASIC part. E.g., Compl. ¶ 19 (“The Defendants were

well aware of the defective nature of their vehicle due to the ACU and the danger

and harm it posed to drivers such as Plaintiffs.”). According to Plaintiffs, the defect

arose because the ACUs “do not adequately protect the DS84 ASIC” against

transient electricity from EOS, id. ¶ 67, which “is especially dangerous as it can

disable the ACU from functioning and cause the airbags and seatbelts to not activate

during a crash, id. ¶ 10.” At best, Plaintiffs allege a design error with the ACUs, not

with the DS84 ASIC. Id., ¶¶ 12–13, and 19.




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      b. Plaintiffs fail to state a manufacturing defect claim (Count II).

      Plaintiffs’ manufacturing defect claim fails for many of the same reasons as

their design defect claim. To state a manufacturing defect claim, “the plaintiff must

show that the manufacturer’s product when sold by the manufacturer was defective.”

Ctr. Chem. Co. v. Parzini, 234 Ga. 868, 869 (1975). Defectiveness is determined by

measuring the product “against the benchmark of the manufacturer’s designs.”

O’Shea v. Zimmer Biomet Holdings, Inc., 342 F. Supp. 3d 1354, 1359 (N.D. Ga.

2018). “[B]y definition, a manufacturing defect will always be identifiable as a

deviation from some objective standard or a departure from the manufacturer’s

specifications.” Jones v. Amazing Products, Inc., 231 F. Supp. 2d 1228, 1236 (N.D.

Ga. 2002).

      Plaintiffs do not allege that the DS84 ASIC deviated from its intended design,

and thus they fail to state a manufacturing defect claim. Instead, they claim that the

ACUs with the DS84 ASIC were more vulnerable to EOS, but not that the ASIC’s

vulnerability to EOS stemmed from any deviation in its intended design. These

allegations do not support a defect claim as “[t]he mere failure of automobile

equipment is not itself evidence of an original defect, since the failure can be the

result of myriad causes not related to its manufacture.” Miller v. Ford Motor Co.,

287 Ga. App. 642, 644 (2007).


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      In Brazil, this Court dismissed manufacturing defect claims against a drug

manufacturer because the Complaint did not “suggest that the manufactured [drug]

differed in any way from the manufacturer’s design specifications.” 196 F. Supp. 3d

at 1358. That same deficiency dooms Plaintiffs’ claims. Without allegations that the

DS84 ASIC deviated from ST Inc.’s design specifications, Count II falls short of

Rule 8’s pleading requirements and should be dismissed.

      c. Strict liability only applies to manufacturers, not sellers like ST Inc.
         (Count III).

      Strict liability for design and manufacturing defects applies only to

“manufacturers.” O.C.G.A. § 51-1-11(b)(1). Georgia law categorically excludes a

“product seller[]” from strict liability. O.C.G.A. § 51–1–11.1(b). A “product seller”

is defined as one “who, in the course of a business…sells and distributes [a product]

. . . or otherwise is involved in placing a product in the stream of commerce.” Id.;

see also Williams v. Pac. Cycle, Inc., 661 F. App’x 716, 718 (11th Cir. 2016)

(applying definition). Thus, only product manufacturers can be strictly liable, not

product sellers. Even “[a]n entity which merely affixes its label to a product and sells

it under its name is a product seller rather than a manufacturer” and so not subject to

strict liability. Alltrade, Inc. v. McDonald, 445 S.E.2d 856, 858 (Ga. Ct. App. 1994).

      Plaintiffs’ vague and conclusory allegations about the ST Defendants’

conduct do not adequately plead that ST Inc. was the manufacturer. As this Court

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stated in Inform, “[i]t is important to attribute the specific conduct to the specific

defendant because liability among” related entities is not automatic where “there is

no evidence that [all] were involved in the challenged conduct.” 2021 WL 4295151,

at *5. It is Plaintiffs’ job to craft viable claims—not the Court’s to scour through

overbroad and conclusory allegations to save Plaintiffs’ pleading. See id. Plaintiffs’

undifferentiated shotgun pleading dooms their strict liability claim.

      d. The sophisticated intermediary doctrine cuts off any liability against
         ST Inc. for the alleged failure to warn or inspect (Counts IV and VI).

      Even assuming that ST Inc. was a manufacturer (which is not adequately

pleaded), Georgia law negates a manufacturer’s duty to warn when a sophisticated

intermediary exists to warn the end consumer of a product’s known dangers. Stiltjes

v. Ridco Exterminating Co., 178 Ga. App. 438, 441 (1986), aff’d, 256 Ga. 255

(1986). In Eyster v. Borg-Warner Corp., an air conditioning unit manufacturer had

no duty to warn of the danger of an aluminum-copper connection because that danger

“was common knowledge to those generally engaged in the [units’] installation.”

131 Ga. App. 702, 706 (1974). The court distinguished the duty of manufacturers

who supply directly to the public and those supplying a professional intermediary;

“the manufacturer is not required to warn against risks generally known” to

professionals. Id. at 704. Likewise, in Stiltjes, a pesticide manufacturer had no duty

to warn potential end consumers of the dangers of skin contact with and inhalation

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of its pesticides because it sold only to professionals, who “knew or should have

known” of the dangers. 178 Ga. App. at 441.

      No liability from a failure to warn or inspect can attach to ST Inc. because it

did not supply products to the general public. Plaintiffs allege that the ST Defendants

sold the DS84 ASIC to a sophisticated intermediary, ZF-TRW, who then

incorporated it into its own ACU product, and then sold that ACU to Toyota. Compl.,

¶¶ 7–8. A second sophisticated intermediary (Toyota) then manufactured a vehicle

with the ACU and, through an unidentified dealership, sold it to the Plaintiffs. Id.

¶¶ 7, 49 There is no allegation—nor could there be—that ST Inc. made a direct sale

to any consumer or even to Toyota, much less to Plaintiffs. Thus, ST Inc. had no

duty to warn or inspect. Eyster, 131 Ga. App. at 704; Stiltjes, 178 Ga. App. at 441.

      The Complaint concedes that these intermediaries were sufficiently

sophisticated and knew (or should have known) of the alleged defect. Plaintiffs

instead broadly state that EOS “vulnerability is dangerous, as it is commonly known

within the auto industry, that some crashes cause” the discharge of “large bursts of

electricity.” Id. ¶ 9. Plaintiffs also allege that both Toyota and ZF knew that the

ACUs containing the DS84 ASIC were vulnerable to EOS. Id., ¶¶ 11–12, 66, 72, 88.

But ZF and Toyota both allegedly also knew that EOS may affect the ACUs’

function, negating ST Inc.’s duty to warn of any unspecified defect in the DS84


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ASIC or to inspect it before Toyota’s final sale to Plaintiff McFalls. These facts—

the presence of intermediary with knowledge of the alleged danger—obviated any

duty to warn the ultimate consumer in both Eyster and Stiltjes. They also do so here,

and so Counts IV and VI should be dismissed.

   3. No implied warranty claim (Count V) can stand because Plaintiffs lack
      privity with ST Inc.

      As noted above, ST Inc. did not directly sell any product to Plaintiffs, dooming

Plaintiffs’ breach of implied warranty claim. Georgia courts have “repeatedly held”

that plaintiffs lacking contractual privity with a manufacturer cannot bring an

implied warranty claim against the manufacturer. See Gill v. Blue Bird Body Co.,

147 F. App’x 807, 809-10 (11th Cir. 2005). “Under Georgia law, no implied

warranty of merchantability exists between a manufacturer and a remote consumer

because no privity of contract exists between them.” Barnes v. Medtronic, Inc., et

al., No. 1:20-CV-04310-JPB, 2021 WL 3742436, at *2 (N.D. Ga. Aug. 24, 2021).

In short, unless the defendant sold directly to the plaintiff, the sale implies no

warranty. A plaintiff cannot simply point to an implied warranty arising out of a sale

by the defendant to a “distributor or retailer from whom plaintiff purchased the

product.” Lamb v. Georgia-Pac. Corp., 194 Ga. App. 848, 850 (1990).

      According to Plaintiffs, there are at least two intermediaries between ST Inc.

and Plaintiffs. At best, the only connection to ST Inc. is many steps removed: ST

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Inc. supplied the DS84 ASIC to ZF (who incorporated the component the ACU),

who sold it to Toyota (who incorporated the ACU in a vehicle), who sold it to a

dealership, who sold it to Plaintiff McFalls. There is simply no privity between any

Plaintiff and ST Inc., and Plaintiffs’ Count V should therefore be dismissed.

                                IV.    CONCLUSION

      The Court should grant this motion and dismiss Plaintiffs’ Complaint because

the Court lacks general or specific personal jurisdiction over ST Inc. and because

Plaintiffs have failed to state a claim against it.




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    Dated:      July 8, 2022

                                      Respectfully submitted,
                                      By: s/Robert P. Debelak III
Amanda Kay Seals                      Thomas F.A. Hetherington, pro hac
Georgia Bar No. 502720                vice
seals@bmelaw.com                      tom.hetherington@mhllp.com
Megan Cambre                          Kendall J. Burr, pro hac vice
Georgia Bar No. 167133                kendall.burr@mhllp.com
cambre@bmelaw.com                     Robert P. Debelak III, pro hac vice
                                      bobby.debelak@mhllp.com
BONDURANT MIXSON & ELMORE LLP         Emily K. Felix, pro hac vice
1201 W Peachtree St NW                emily.felix@mhllp.com
Suite 3900
Atlanta, GA 30309                     MCDOWELL HETHERINGTON LLP
Tel: 404-881-4100                     1001 Fannin Street, Suite 2700
Fax: 404-881-4111                     Houston, TX 77002
                                      Tel: 713 .337 .5580
                                      Fax: 713 .337 .8850


    ATTORNEYS FOR DEFENDANT STMICROELECTRONICS, INC.




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                    CERTIFICATE OF COMPLIANCE

     Under LR 7.1(D) of the Northern District of Georgia, I hereby certify that

this document was prepared in Times New Roman font, 14 point under LR 5.1(C).

     This 8th day of July, 2022.


                                        s/Robert P. Debelak III
                                       Robert P. Debelak III




                            Rule 7.1(D) Certificate
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT STMICROELECTRONICS, INC.’S MOTION TO DISMISS

PLAINTIFFS’ COMPLAINT AND BRIEF IN SUPPORT upon counsel of record

via the CM/ECF system which will send electronic notification to counsel.

      This 8th day of July, 2022.


                                         s/Robert P. Debelak III
                                         Robert P. Debelak III




                               Certificate of Service
